         Case 18-06731-LA13               Filed 11/28/18          Entered 11/29/18 10:03:03        Doc 17      Pg. 1 of 1
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                                                                                                November 29, 2018




                    UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF CALIFORNIA
                    325 West F Street, San Diego, California 92101-6991


In Re
Ernestine B. Juhan                                                                                        18-06731-LA-13
                                                                                         Bankruptcy No.
                                                                          Debtor,




                                     ORDER DISMISSING CASE WITHOUT PREJUDICE
                                                                                    13
            It appearing from the Court records for the above-entitled Chapter            case that the debtor(s) has failed to
   file or move for an extension of time to file the document(s) identified below and in the Court’s Notice of Missing
   Schedule(s), Statement(s) and/or Chapter 13 Plan within the time permitted.
        Schedules and/or Statements
        Chapter 13 Plan




            Therefor and for good cause showing,
            IT IS HEREBY ORDERED AND ADJUDGED THAT:
            1.   The above-entitled case is dismissed without prejudice.
            2.   All related adversary proceedings which are pending are also dismissed subject to the provisions of
                 Local Bankruptcy Rule 7041-2(a).
            3.   All stays now in effect for this case are vacated.



   DATED:
                 November 28, 2018




 DUE WITHIN 14 DAYS OF FILING
 as governed by Fed. R. Bankr. P 1007(a)(5), (b) and (c),
 3015(b), LBR 1017-3, and LBR 5005-4

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